           CASE 0:18-cv-01776-JRT-HB Doc. 1119 Filed 01/13/22 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                       DISTRICT COURT OF MINNESOTA

IN RE PORK ANTITRUST LITIGATION              Case No. 0:18-cv-01776 (JRT-HB)

                                             DECLARATION OF ERIC
This Document Relates To:                    SCHACHTER IN SUPPORT OF
                                             MOTION FOR FINAL APPROVAL
THE DIRECT PURCHASER PLAINTIFF               OF THE CLASS ACTION
ACTION                                       SETTLEMENT BETWEEN
                                             DIRECT PURCHASER
                                             PLAINTIFFS AND SMITHFIELD
                                             FOODS, INC.




968441.1
            CASE 0:18-cv-01776-JRT-HB Doc. 1119 Filed 01/13/22 Page 2 of 5



       I, Eric Schachter, declare as follows:

       1.     I am a Vice President of A.B. Data, Ltd.’s Class Action Administration Division

(“A.B. Data”). Pursuant to the Court’s August 5, 2021, Order Granting Motion for Preliminary

Approval of the Class Action Settlement Between Direct Purchaser Plaintiffs and Smithfield

Foods, Inc.1 (ECF No. 870, the “Preliminary Approval Order”), A.B. Data was authorized to

act as the Settlement Administrator in connection with the Settlement in the above-captioned

action (the “Action”). I am over 21 years of age and am not a party to this Action. I have

personal knowledge of the facts set forth herein and, if called as a witness, could and would

testify competently thereto.

       2.     This Declaration describes the implementation of the notice plan, as proposed in

my Declaration of Eric Schachter in Support of Motion for Preliminary Approval of the Class

Action Settlement Between Direct Purchaser Plaintiffs and Smithfield (ECF No. 832, the

“Initial Declaration”).

                                           NOTICE

       3.     Using the 68,160 potential Class Member names and contact information used

for notice in the previous settlement with JBS in this Action, A.B. Data consolidated certain

records at the request of potential Class Members and records previously reported as

undeliverable by the United States Postal Service (“USPS”), which ultimately resulted in

55,532 unique potential Class Member records to use for direct notice.




   1
     Unless otherwise noted, all capitalized terms shall have the same meaning as in the
Settlement Agreement between Direct Purchaser Plaintiffs and Smithfield.
                                             1
            CASE 0:18-cv-01776-JRT-HB Doc. 1119 Filed 01/13/22 Page 3 of 5



       4.     Prior to commencing direct notice, A.B. Data standardized and updated, where

applicable, the potential Class Member mailing addresses using data from the USPS National

Change of Address Database. As a result of this work, on September 3, 2021, A.B. Data caused

the Court-approved Long-Form Notice to be sent by USPS First-Class Mail to the 55,532

potential Class Member mailing addresses.

       5.     As of the date of this Declaration, A.B. Data has tracked 3,791 Long-Form

Notices to be undeliverable as addressed. Of these, 1,001 Long-Form Notices have been

remailed to updated addresses obtained through either the USPS, an authorized representative

of the intended recipient, or third-party information services to which we subscribe.

       6.     On September 3, 2021, A.B. Data caused the Email Notice to be sent by email

to 1,728 known potential Class Member email addresses. To maximize deliverability, A.B.

Data used certain best practices, such as avoiding attachments and certain key words likely to

trigger SPAM and junk filters and sending the emails in batches over a period of days. Of the

1,728 emails sent, 1,597 were successfully delivered.

       7.     To supplement the direct notice efforts, A.B. Data caused the Publication Notice

to publish in the October 2021 editions of Nation’s Restaurant News and Supermarket News,

trade journals targeting supply chain executives and food industry professionals. A.B. Data

also effectuated a thirty-day digital media banner ad campaign on            www.nrn.com and

www.supermarketnews.com.

       8.     The Long-Form Notice, Email Notice, and Summary Notice were written in

plain language that clearly and concisely described, among other things: the definition of the

Class; the binding effects of remaining part of the Class; the benefits of the Settlement; Co-

                                              2
             CASE 0:18-cv-01776-JRT-HB Doc. 1119 Filed 01/13/22 Page 4 of 5



Lead Counsel’s contact information; instructions on how to exclude or object; the costs and

fees that Co-Lead Counsel would seek to be paid from the Settlement fund; and that additional

information and pleadings were available online at www.PorkAntitrustLitigation.com.

                                SETTLEMENT WEBSITE

       9.      On September 3, 2021, A.B. Data caused the case-specific Settlement website,

www.PorkAntitrustLitigation.com, to be updated to include information regarding the

settlement with Smithfield. The website provides general information in English and Spanish

regarding the case and its current status, as well as downloadable copies of the notice

documents, the Settlement Agreement, the Preliminary Approval Order, and the operative

Complaint. The website is accessible 24 hours a day, 7 days a week.

                                 TELEPHONE HELPLINE

       10.     On September 3, 2021, A.B. Data caused the case-specific toll-free phone

number, 866-797-0864, to be updated to include information regarding the new settlement.

The toll-free phone line provides callers with an Interactive Voice Response system and live

operators in both English and Spanish. An automated attendant answers all calls initially and

presents callers with a series of choices to respond to basic questions. If callers need further

help, they have the option to be transferred to an operator during business hours.

                           EXCLUSIONS AND OBJECTIONS

       11.     The Long-Form Notice informed potential Class Members that requests for

exclusion were to be submitted to A.B. Data by mail or email such that they were postmarked

or received by November 2, 2021. As of the date of this Declaration, A.B. Data has received

94 requests for exclusion, many of which included various affiliated entities and partial

                                               3
             CASE 0:18-cv-01776-JRT-HB Doc. 1119 Filed 01/13/22 Page 5 of 5



assignments. The 94 requests for exclusion included various affiliated entities. The list of all

entities (inclusive of affiliated entities) that requested exclusion is attached as Exhibit A. The

list of the requests with partial assignments is attached as Exhibit B.

       12.     The Long-Form Notice informed potential Class Members seeking to object to

part or all of the proposed Settlement that they could do so by submitting a written request that

is received by the Parties and filed with the Court no later than November 2, 2021. As of the

date of this Declaration, A.B. Data has not received and is not aware of any objections.

       I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Executed this 12th day of January 2022.



                                                                 Eric Schachter




                                                4
